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                            OFFICIAL ELECTION BULLETIN
                                           August 1, 2018


TO:            County Election Officials and County Registrars

FROM:          Chris Harvey, Elections Division Director

RE:            Response to Coalition for Good Governance Communication


Dear County Commissioners and Officials,

Jam writing to you as the State of Georgia’s Elections Director, a position I have held since July
2015. From August 2007 until July 2015,1 was the Chief Investigator and Deputy Inspector
General for the Secretary of State’s office, investigating, among other items, potential violations
of state election law. For over a decade, it has been my job to be intimately familiar with both
Georgia election law, systems, processes, and procedures.

Before joining the Secretary of State’s office, I was the Director of the Cold Case Homicide Unit
with the Fulton County District Attorney’s office where I investigated previously unsolved
homicides. Prior to that role, I was the Chief Investigator with the DeKaIb County District
Attorney’s Office where I led investigations in all crimes, including public corruption. Over my
career in law enforcement, it has been my intention to serve Georgia by promoting public safety,
security and fidelity to the law.

Throughout my tenure at the Secretary of State’s office, election security has been a top priority
for me personally, as it is for the entire Secretary of State’s office and county election officials.
Now more than ever, and especially since the election of 2016, voting security is featuring more
prominently as a topic of national conversation. However, it has been a way of life in the
Secretary of State’s office for far longer. 1 write to you today to explain some of the protections
that we, along with county election officials, have in place to ensure that Georgia’s elections are
secure and ask for your assistance in continuing to ensure secure elections in our state.

Elections in Georgia are a partnership between the state and the counties. County election
officials run elections while the Secretary of State’s office maintains the voter registration
database and provides support to the counties. We work with your county election officials every
day, and these hard-working public servants are truly the linchpin of our democracy.

Long before the public spotlight turned to the realm of elections, we recognized the real threat of
people and entities both foreign and domestic seeking to interfere with our electoral process.
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To combat this thrcat, we work with federal, state, local, and private sector partners every day,
and we are continually adding additional levels of both cyber and physical security to Georgia’s
election system It is our duly to provide Georgians with the opportunity to vote on a secuie and
reliable voting system, which we regularly test to ensure ongoing compliance with state law and
State Election Board rules.                                     //




Georgia’s election system consists of many components, including the voter registration system,
election management system, voting machmes, and election night reporting website Strict
security mechanisms surround each component These safeguards include, but are not limited to,
frequent password changes, brute force and inactivity account disabling, and two-factor
authentication Many people are pleasantly surprised to hear that Georgia builds its encrypted
ballot databases on machines which are never connected to the internet—a safeguard which
many other states have not yet implemented We also deploy cybersecurity protections, secure
armed transport of election materials, and physical security foi our voting machines Your
county election officials are familiar with these processes and treat them with th~ utmost
importance.

Recently, some county boaids have received communications from parties who filed a federal
lawsuit against Georgia to stop the usc of-voting machines —Direct Recording Electronic (DRE)
equipment—and demand hand-counted paper ballots In these communications to you, they
mistakenly cite a state law which was superseded by a newer law for the assertion that counties
can unilaterally elect to stop using DRE voting equipment Their assertion is not an accurate
statement of Geoigia law

In 2003, Geoigia moved to a state-wide, unified system in 2003 0 C GA § 21-2-300 (a) states,
“Provided that the General Assembly specifically appropriates funding to the Secretary of State
to implement this subsection, the equipment used for casting and counting votes in county, state,
and federal elections shall, by the July, 2004, primaiy election and afterwards, be the same in
each county in this state and shall be provided to each county by the state, as determined by the
Secretary of State” Further, 0 C GA § 21-2-381 requires absentee in-person ballots (early
voting) to be on a DRE and 0 C GA § 21-2-3797, which requires at least one DRE unit
accessible to handicapped voters to be placed in each precinct, and State Election Board rules
align with both of these statutes.
There are some who believe that because the current DRE machines are fully electronic, there is
no way to venfy that voter selections match the vote count’s output This belief is not tine There
are numerous ways to ensure that our voting machines are accurately counting votes, and
election officials test and demonstrate the accuracy of these machines through logic and accuracy
testing before every single use Last ycar, the state also conducted a ie-examination of the voting
machines to ensure accuracy In each of the three selected counties, each machine’s output
exactly matched its input on simulated election day conditions Furthermore, on election days in
20 tS, the Secretary of State’s office conducts parallel testing, wInch means we take an actual
county’s ballot database and run a mock election to ensure that output matches the ballot
selections In each instance, the machine’s output has exactly matched the selections We have
  ever taken accuracy for gianted It is constantly tested and re-tested

 ihere is a provision of Geoigia law that allows the state to move to papcr ballots in the eve~)
the machines are “inoperable or unsafe “If we ever reach a point where our office feels that these   /
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/‘machines cannot be trusted to accurately deliver election results, we will invoke this statutory
      provision To this day, there is no credible evidence that our election process is anything except   /
‘s... secureandaccurate

     While we are confident in the integrity of our elections, we remain vigilant and committed to
     ensuring that the confidence of Georgia voters in their elections and government is well-
     deserved The Secretary of States commitment to constant vigilance is why we have supported a
     move towards a new voting system to replace the current, aging system in a responsible fashion
     This year, Secretary Kemp appointed the bi-partisan Secure, Accessible, and Fair Elections
     (SAFE) Commission, which consists of numerous county election officials, legislatois, election
     law experts, a cybersecurity expert, and an accessibility expert The SAFE Commission, working
     with our office, will present recommendations to the General Assembly by this January on how
     to responsibly move to a new system
     As county officials, we recognizethe role that you play in keeping our system secure and
     accurate Thc Secretary of Statc’s Office values our county partners who work hand-in-hand with
     county elections boaids and officials to run Georgia’s elections Thank you for your continued
     support and dedication to secure elections in Georgia Please feel free to contact me directly with
     any questions.


     Sincerely,

     Chris Harvey

     State ElectionsDirectór
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                            OFFICIAL ELECTION BULLETIN
                                         December 1, 2020
_____________________________________________________________________________________________


TO:             County Election Officials and County Registrars

FROM:           Chris Harvey, Elections Division Director

RE:             Preserving Ballot Images and Delivering to Sec. of State

______________________________________________________________________

When preparing your materials for the “Ballot Run” for the November 3, 2020 Election and Recount,
you must complete the following steps to include all ballot images with your election returns.

Please include in your election certification packet the following:

    •   A backup copy of your Official and Complete November 3rd General Election Project
    •   A backup copy of your November 3rd Recount Election Project containing all the ballot images
        collected during the recount process (see “Loading images instructions” below on how to ensure
        ballot images have been loaded)

Creating and saving a backup copy of Election Project

To make a backup copy of an Election Project the following steps need to be followed:

    1. Open the project in EED
    2. Click on File in the toolbar and select Create Backup
    3. Select the second option listed; this is the full backup option
    4. Click OK when complete
    5. Close the election project in EED
    6. Click on the File Explorer icon at the bottom of the screen
    7. Click on Local Disk (C:)
    8. Double click on the NAS folder
    9. Double click on the “countyname” Nov 2020 General folder
    10. Double click on Project Package
    11. Two files should be present
            a. Zipped file
            b. EMS.sha file
    12. Highlight and copy the two files listed
    13. Paste and save the two files to a USB drive, or a compact flash card


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Loading Ballot Images collected by the ICC during the recount

    A. Open the Recount Election Project in RTR
    B. Click on Actions, select “Load Results from Directory”
    C. Next to File Type select Results; verify the files listed have a “checkmark” in the Loaded column
    D. Next to File Type select Images
    E. Highlight the rows listed and then hit “Load”
       • If the images have already been loaded, a message asking if you would like to Overwrite the
           previously loaded images will appear, Select NO
       • If the images have NOT been loaded, the images will then be uploaded
    F. Click Close
    G. Close the Election Project in RTR
    H. Open EED
    I. Open the Recount Election Project
    J. Create backup copy of your Recount Election Project following the instructions listed above for
       Creating and saving backup copy

If you have questions about this process, check with Michael Barnes’ team at CES or your election
liaison.




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